                                              United States Bankruptcy Court
                                             Northern District of California
Browning,
              Plaintiff                                                                           Adv. Proc. No. 18-01014-DM
CITI Financial Services,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0971-1                  User: dfagan                       Page 1 of 1                          Date Rcvd: Apr 25, 2018
                                      Form ID: ODSCY                     Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 27, 2018.
dft            +CITI Financial Services,   300 St. Paul Place,   Baltimore, MD 21202-2120
pla            +Judith Katherine Browning,   46 Aspen Meadows Circle,   Santa Rosa, CA 95409-5865

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 27, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 25, 2018 at the address(es) listed below:
              Michael C. Fallon   on behalf of Plaintiff Judith Katherine Browning mcfallon@fallonlaw.net,
               manders@fallonlaw.net
                                                                                            TOTAL: 1




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Form ODSCY
                                    UNITED STATES BANKRUPTCY COURT
                                         Northern District of California

In Re:
Judith Katherine Browning                                    Case No.: 13−10068 Chapter: 13
Debtor(s)

Judith Katherine Browning
Plaintiff(s)                                                 Adversary Proceeding No. 18−01014
vs.
CITI Financial Services
Defendant(s)

                   ORDER RE INITIAL DISCLOSURES AND DISCOVERY CONFERENCE


   The purpose of this order is: (1) to notify the parties of their obligation under Fed. R. Civ. P. 26, as incorporated
by Fed. R. Bankr. P. 7026, to make Initial Disclosures and meet for a Discovery Conference; and (2) to modify those
Rule 26 requirements in certain respects. As such, this order has no effect in any proceeding exempted under Rule
26(a)(1)(E) and (f) from the Initial Disclosure and Discovery Conference requirements.
  1. The Discovery Conference. At least 21 calendar days before the scheduling conference set in the summons, the
     parties shall confer (in person or by telephone) at a "Discovery Conference." Plaintiff shall initiate contact
     regarding arrangement of the Discovery Conference. Defendant shall cooperate in fixing the time and place of
     the Discovery Conference. Except to the extent the parties stipulate otherwise, no party shall initiate or conduct
     any formal discovery prior to the Discovery Conference. The parties may conduct informal discovery.
  2. Settlement. At the Discovery Conference, the parties shall consider the nature and basis of their claims and
     defenses and the possibility of an early settlement. The parties shall also discuss ADR options, as required by
     B.L.R. 9040−3.
  3. Initial Disclosures. At the Discovery Conference, the parties shall arrange to make the "Initial Disclosures"
     required by Rule 26(a), without necessity of a formal discovery request. The Disclosures shall be made at or
     within 14 calendar days after the Discovery Conference. All disclosures shall be in writing, signed by the party
     or his or her attorney, and served on all other parties.
  4. Discovery Plan. At the Discovery Conference, the parties shall develop a written Discovery Plan signed by all
     parties or their counsel, that reflects the parties' views and proposals concerning: (i) what changes, if any, should
     be made in the timing, form, or requirements of the Initial Disclosures; (ii) the timing, subject matter, and
     limitations, if any, of discovery to be conducted after the initial disclosures; and (iii) the subject of any orders
     that the court should enter under Fed.R.Bankr.P. 7016(b) and (c) and 7026(a)(1)unless:
 (a) the proceeding is exempt under Rule 26(f);
 (b) the proceeding seeks to recover money or property, or except a debt from discharge pursuant to 11 U.S.C.
     §523(a), of no more than $15,000, excluding interest, attorneys, fees, and costs; or
 (c) the parties stipulate to the contrary in a writing filed with the court.
  The Discovery Plan shall be filed within 14 calendar days after the Discovery Conference.
  5. Pretrial Disclosures. Notwithstanding Rule 26(a)(3), pretrial disclosures shall be made in accordance with
     further order of the court.
  6. Service hereof. The summons, complaint, and this order shall be served by the plaintiff within 7 days of the date
     of this order. A return or proof of service shall be filed within 5 days after service.
     SO ORDERED.

Dated: 4/25/18                                               For the Court:

                                                             Edward J. Emmons
                                                             Clerk of Court
                                                             United States Bankruptcy Court

I certify that a copy of this Order was returned to the plaintiff at the time the original summons was issued.

Dated: 4/25/18                                               Dalani Fagan




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